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     SURF CITY INVESTORS, LLC
8

9
                                 UNITED STATES BANKRUPTCY COURT

10                                        DISTRICT OF NEVADA

11    In re:                                               CASE NO.: 19-12292-mkn
12                                                         CHAPTER 7
13
      RANDALL WAYNE JONES
                                                           MOTION FOR RELIEF FROM THE
14                                                         AUTOMATIC STAY
15                     Debtor.                             Hearing:
16                                                         Date: June 12, 2019
                                                           Time: 1:30 PM
17

18
               SURF CITY INVESTORS, LLC (“Movant”) moves this court for an order terminating
19
     the automatic stay of 11 U.S.C. § 362(a) as to the real property located at 29 REYBURN DR.,
20
     HENDERSON, NV 89014 (the “Property”). This motion is supported by the points and
21
     authorities cited herein and the record currently before the court.
22
                  I. FACTUAL AND PROCEDURAL SUMMARY
23             Attached are redacted copies of any documents that support the claim, such as promissory
24   notes, purchase order, invoices, itemized statements of running accounts, contracts, judgments,
25   mortgages, and security agreements in support of right to seek a lift of the automatic stay and
26   foreclose if necessary.

27
               On or about October 14, 2003, Randall W. Jones (“Debtor”) executed a promissory note
     in the principal sum of $50,000.00 (the “Note”), which was made payable to GMAC Mortgage
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     Corporation. A true and correct copy of the Note is attached hereto as Exhibit 1 and
1
     incorporated herein by reference.
2
             The Note is secured by a deed of trust (the “Deed of Trust”) encumbering the Property
3
     which was recorded in the Clark County Recorder’s Office of Nevada on November 4, 2003 as
4
     Instrument No. 20031104-00150. A true and correct copy of the Deed of Trust is attached hereto
5
     as Exhibit 2 and incorporated herein by reference. The Note and Deed of Trust are collectively
6    referred to herein as the “Loan.”
7            Movant currently holds possession of the Note, which has a series allonges affixed
8    thereto ultimately payable to the order of Plaintiff. See Exhibit 1.
9            Subsequently, all right, title and interest in the Deed of Trust were sold, assigned and

10
     transferred to Movant. A true and correct copy of the applicable Assignment of Deed of Trust is
     collectively attached hereto as Exhibit 3 and incorporated herein by reference.
11
             On April 16, 2018, Debtor commenced a case by filing a voluntary petition under
12
     Chapter 13 of the United States Bankruptcy Code under case number 18-12111. The case was
13
     dismissed on or about March 20, 2019.
14
             Less than a month later; or on or about April 16, 2019, Debtor commenced the instant
15
     Chapter 7 bankruptcy case.
16           A default exists under the Loan for failure to make payments due and owing under the
17   Note and Deed of Trust.
18           As of May 1, 2019, the arrearage owed under the Note and Deed of Trust is as follows:
19                                            PAYMENTS
20
          Number of             Payment              Payment Dates           Total Arrearage as of
21
          Payments              Amount                                               5/1/2019
22

23
       106                 $45.52                 8/20/2010 – 5/20/2019     $4,825.12
24

25
             A payment history, payoff and reinstatement is collectively attached hereto as Exhibit 4.
26           As of May 1, 2019, the total amount owed under the Note is approximately $26,020.02.
27

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            Debtor’s sworn schedules indicate an intent to surrender the subject property. See
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     Exhibit 5. As such, the requirement under Local Rule 4001(a)(2) to Meet and Confer is not
2
     required.
3
        LEGAL ARGUMENT
4

5       A. MOVANT IS ENTITLED TO RELIEF FROM THE AUTOMATIC STAY
           PURSUANT TO 11 U.S.C. §362(d)(1).
6

7           Section 362(d)(1) provides, in pertinent part:
8                   (d) On request of a party in interest and after notice and a hearing, the court
                        shall grant relief from the stay provided under subsection (a) of this
9                       section, such as by terminating, annulling, modifying, or conditioning
10
                        such stay-

11                       (1) For cause, including the lack of adequate protection of an interest in
                             property of such party in interest . . .
12

13   11 U.S.C. §362(d)(1). (emphasis added). Cause includes a debtor’s lack of equity in a property, a
14   debtor's failure to make post-petition mortgage payments, and inadequate protection of a
15   creditor’s interest in the property. In re Ellis, 60 B.R. 432, 435 (9th Cir. BAP 1985). A court may

16   grant relief from stay for cause when the debtor has not been diligent in carrying out their duties

17
     in the bankruptcy case, has failed to make required payments, or is using bankruptcy as a means
     to delay payment or foreclosure. In re Harlan, 783 F.2d 839 (9th Cir. BAP 1986); In re Ellis, 60
18
     B.R. at 435.
19
            Here, no payments have been under the loan obligation for nearly 9 years; debtor
20
     indicates an intent to surrender the subject property; and the fact that Debtor sought relief under
21
     Chapter 7, the property is not necessary for an effective reorganization.
22
            As such, Movant respectfully requests that relief be granted.
23          II.      CONCLUSION
24          For all of the reasons discussed herein, Movant is entitled to relief from the automatic
25   stay of 11 U.S.C. §362(a). Pursuant to Local Bankruptcy Rule 9014(g), a proposed order is
26   attached hereto as Exhibit 6.

27
            Pursuant to Local Rule 9014.2, the Creditor consents to entry of final order(s) or
     judgment(s) by the bankruptcy judge if it is determined that the bankruptcy judge, absent consent
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     of the parties, cannot enter final orders or judgments consistent with Article III of the United
1
     States Constitution.
2
            WHEREFORE, Movant respectfully prays for an Order of this court:
3
            1.      Terminating the automatic stay of 11 U.S.C. §362(a) to allow Movant (and any
4
     successors or assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to
5
     foreclose upon and obtain possession of the Property;
6           2.      Waiving the 14-day stay prescribed by Rule 4001(a)(3) of the Federal Rules of
7    Bankruptcy Procedure;
8           3.      Permitting Movant to offer and provide Debtor with information re: a potential
9    Forbearance Agreement, short sale, deed in lieu, loan modification, Refinance Agreement, or

10
     other loan workout/loss mitigation agreement, and to enter into such agreement with Debtor
     without further order of the court;
11
            4.      That the requirements of Local Bankruptcy Rule 9021 be waived; and
12
            5.      Granting Movant such other and further relief as the court deems just and proper.
13

14
                                                   Respectfully submitted,
15
     Dated: May 9, 2019                            SINGER LAW GROUP
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17
                                                   By: /s/ Daniel I. Singer
                                                   DANIEL I. SINGER
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                                                   Attorneys for Movant

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                                     CERTIFICATE OF SERVICE
1
            I, the undersigned, hereby certify that I am employed in the County of Orange, State of
2
     California, am over the age of 18 years and not a party to this action. My business address is
3
     2192 Martin Suite 150, Irvine, CA 92612.
4
            I hereby certify that I electronically filed the foregoing document with the Clerk of the
5
     Court for the United States Bankruptcy Court in and for the State of Nevada by using the
6    CM/ECF system for filing and transmittal of a Notice of Electronic Filing to the following
7    CM/ECF registrants:
8                                                  Trustee:
9                                           Lenard E Schwartzer

10
                                           2850 S Jones Blvd #1
                                         Las Vegas, Nevada 89146
11
                                            trustee@s-mlaw.com
12
            I further certify that the foregoing document was mailed via U.S. Mail, First Class to
13
     the following parties who are not registered users of the CM/ECF system:
14
                                                   Debtor
15
                                       RANDALL WAYNE JONES
16                          29 REYBURN DRIVE, HENDERSON, NV 89074
17

18          I certify under penalty of perjury that the foregoing is true and correct and that this
19   Certificate of Service was executed by me on the 9th day of May, 2019, at Irvine, California.

20
                                                   /s/ Daniel I. Singer
21
                                                   DANIEL I. SINGER
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